                        Case 1-17-45121-cec                          Doc 13         Filed 10/17/17               Entered 10/17/17 20:40:53



 Fill in this information to identify your case:

 Debtor 1                     Rene Guzman
                              First Name                    Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                     Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NEW YORK

 Case number            17-45121-cec
 (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                   amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                                                                                                                   12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                                 Unsecured claim

 1                                                                   What is the nature of the claim?              Credit Card                   $ $152.00
              Amex
              Correspondence                                         As of the date you file, the claim is: Check all that apply
              Po Box 981540                                                 Contingent
              El Paso, TX 79998                                             Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
              Contact                                                        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
              Contact phone                                                         Unsecured claim                                   $


 2                                                                   What is the nature of the claim?              69-07 Juniper Blvd S      $ $474,287.45
                                                                                                                   Middle Village, NY
                                                                                                                   11379 Queens County
                                                                                                                   Debtor purchased this
                                                                                                                   property in 2003. In
                                                                                                                   2016, Debtor
                                                                                                                   transferred title of this
                                                                                                                   prope
              BSI Financial Services
              P.O. Box 679002                                        As of the date you file, the claim is: Check all that apply
              Dallas, TX 75267-9002                                         Contingent
                                                                            Unliquidated
                                                                            Disputed



B104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            Page 1

Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
                        Case 1-17-45121-cec                          Doc 13         Filed 10/17/17               Entered 10/17/17 20:40:53




 Debtor 1          Rene Guzman                                                                      Case number (if known)            17-45121-cec

                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                 $ $1,044,287.45
                                                                                    Value of security:                               - $ $570,000.00
            Contact phone                                                           Unsecured claim                                    $ $474,287.45


 3                                                                   What is the nature of the claim?              2009 Nissan Quest             $ $395.00
                                                                                                                   170000 miles
            Chase Auto Finance
            Po Box 901003                                            As of the date you file, the claim is: Check all that apply
            Ft Worth, TX 76101                                              Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                 $ $3,155.00
                                                                                    Value of security:                               - $ $2,760.00
            Contact phone                                                           Unsecured claim                                    $ $395.00


 4                                                                   What is the nature of the claim?              Credit Card                   $ $1,330.00
            Chase Card
            Attn: Correspondence Dept                                As of the date you file, the claim is: Check all that apply
            Po Box 15298                                                    Contingent
            Wilmington, DE 19850                                            Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 5                                                                   What is the nature of the claim?              Credit Card                   $ $1,144.00
            Chase Card
            Attn: Correspondence Dept                                As of the date you file, the claim is: Check all that apply
            Po Box 15298                                                    Contingent
            Wilmington, DE 19850                                            Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                          Page 2

Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                        Case 1-17-45121-cec                          Doc 13         Filed 10/17/17               Entered 10/17/17 20:40:53




 Debtor 1          Rene Guzman                                                                      Case number (if known)            17-45121-cec

 6                                                                   What is the nature of the claim?              Check Credit Or Line         $ $499.00
                                                                                                                   Of Credit
            Citibank
            Centralized Bk/                                          As of the date you file, the claim is: Check all that apply
            Citicorp Credit Srvs                                            Contingent
            Po Box 790040                                                   Unliquidated
            St Louis, MO 63179                                              Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 7                                                                   What is the nature of the claim?              Credit Card                  $ $906.00
            Mabt - Genesis Retail
            Bankcard Services                                        As of the date you file, the claim is: Check all that apply
            Po Box 4477                                                     Contingent
            Beaverton, OR 97076                                             Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 8                                                                   What is the nature of the claim?              83-57 Daniels Street      $ $90,665.00
                                                                                                                   Briarwood, NY 11435
                                                                                                                   Queens County
                                                                                                                   Debtor purchased this
                                                                                                                   property in 2005. In
                                                                                                                   2016, Debtor
                                                                                                                   transferred title of this
                                                                                                                   property t
            Ocwen Loan Servicing, LLC
            12650 Ingenuity Dr                                       As of the date you file, the claim is: Check all that apply
            Orlando, FL 32826                                               Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                 $ $580,665.00
                                                                                    Value of security:                               - $ $490,000.00
            Contact phone                                                           Unsecured claim                                    $ $90,665.00


 9                                                                   What is the nature of the claim?              83-57 Daniels Street         $ $205,677.39
                                                                                                                   Briarwood, NY 11435
                                                                                                                   Queens County


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         Page 3

Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                        Case 1-17-45121-cec                          Doc 13         Filed 10/17/17               Entered 10/17/17 20:40:53




 Debtor 1          Rene Guzman                                                                      Case number (if known)            17-45121-cec

                                                                                                                   Debtor purchased this
                                                                                                                   property in 2005. In
                                                                                                                   2016, Debtor
                                                                                                                   transferred title of this
                                                                                                                   property t
            Ocwen Loan Servincing LLC
            P.O. Box 24738                                           As of the date you file, the claim is: Check all that apply
            West Palm Beach, FL 33416-4738                                  Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                 $ $205,677.39
                                                                                    Value of security:                               - $ $490,000.00
            Contact phone                                                           Unsecured claim                                    $ $205,677.39


 10                                                                  What is the nature of the claim?              162-26 144th Street       $ $233,107.00
                                                                                                                   Springfield Gardens,
                                                                                                                   NY 11434 Queens
                                                                                                                   County
                                                                                                                   Debtor purchased this
                                                                                                                   property in 2005. In
                                                                                                                   2016, Debtor
                                                                                                                   transferred title of this
                                                                                                                   p
            Select Portfolio Servicing
            Po Box 65250                                             As of the date you file, the claim is: Check all that apply
            Salt Lake City, UT 84165                                        Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                 $ $643,107.00
                                                                                    Value of security:                               - $ $410,000.00
            Contact phone                                                           Unsecured claim                                    $ $233,107.00


 11                                                                  What is the nature of the claim?              1 Yale Road Merrick,     $ $226,154.44
                                                                                                                   NY 11566 Nassau
                                                                                                                   County
                                                                                                                   Debtor purchased this
                                                                                                                   property in 2014 and
                                                                                                                   assumed existing
                                                                                                                   mortgage. In 2016,
                                                                                                                   Debtor transferred title
            Shellpoint Mortgage Serv.
            P.O. Box 740039                                          As of the date you file, the claim is: Check all that apply
            Cincinnati, OH 45274-0039                                       Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                            None of the above apply



B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 4

Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                        Case 1-17-45121-cec                          Doc 13         Filed 10/17/17               Entered 10/17/17 20:40:53




 Debtor 1          Rene Guzman                                                                      Case number (if known)            17-45121-cec


                                                                     Does the creditor have a lien on your property?

                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                 $ $626,154.44
                                                                                    Value of security:                               - $ $400,000.00
            Contact phone                                                           Unsecured claim                                    $ $226,154.44


 12                                                                  What is the nature of the claim?              Credit Card                  $ $6,727.00
            TD Bank, N.A.
            Attn: Bankruptcy                                         As of the date you file, the claim is: Check all that apply
            32 Chestnut St                                                  Contingent
            Lewiston, ME 04243                                              Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X     /s/ Rene Guzman                                                                  X
       Rene Guzman                                                                          Signature of Debtor 2
       Signature of Debtor 1


       Date      October 17, 2017                                                           Date




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         Page 5

Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                        Case 1-17-45121-cec                             Doc 13             Filed 10/17/17                    Entered 10/17/17 20:40:53


 Fill in this information to identify your case:

 Debtor 1                   Rene Guzman
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  EASTERN DISTRICT OF NEW YORK

 Case number           17-45121-cec
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                     amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                   Your assets
                                                                                                                                                                   Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $          1,870,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................           $              12,111.34

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................      $          1,882,111.34

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                   Your liabilities
                                                                                                                                                                   Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                       $          3,103,046.28

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                             $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                               $              10,758.00


                                                                                                                                     Your total liabilities $               3,113,804.28


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                $                 4,985.67

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                            $                 4,696.33

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those incurred by an individual primarily for a personal, family, or
                household purpose. 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

         Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy
                      Case 1-17-45121-cec                            Doc 13   Filed 10/17/17      Entered 10/17/17 20:40:53

 Debtor 1      Rene Guzman                                                                Case number (if known) 17-45121-cec

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $       5,041.67


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                  $               0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                         $               0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)               $               0.00

       9d. Student loans. (Copy line 6f.)                                                                $               0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
                         Case 1-17-45121-cec                                 Doc 13             Filed 10/17/17               Entered 10/17/17 20:40:53


 Fill in this information to identify your case and this filing:

 Debtor 1                    Rene Guzman
                             First Name                                 Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                     Last Name


 United States Bankruptcy Court for the:                      EASTERN DISTRICT OF NEW YORK

 Case number            17-45121-cec                                                                                                                         Check if this is an
                                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                      12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?




 1.1                                                                            What is the property? Check all that apply
        69-07 Juniper Blvd S                                                           Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                         the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                   Creditors Who Have Claims Secured by Property.
                                                                                        Condominium or cooperative
                                                                                  
                                                                                       Manufactured or mobile home
                                                                                                                                   Current value of the      Current value of the
        Middle Village                    NY        11379-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                              $570,000.00                 $570,000.00
                                                                                       Timeshare
                                                                                                                                   Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one     a life estate), if known.

                                                                                       Debtor 1 only                              Fee simple
        Queens                                                                         Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another
                                                                                                                                      (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:

                                                                                Debtor purchased this property in 2003. In 2016, Debtor transferred title
                                                                                of this property to a single member LLC he created named WRA
                                                                                Solutions.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
                        Case 1-17-45121-cec                            Doc 13          Filed 10/17/17                Entered 10/17/17 20:40:53

 Debtor 1        Rene Guzman                                                                                             Case number (if known)          17-45121-cec

       If you own or have more than one, list here:
 1.2                                                                    What is the property? Check all that apply
       162-26 144th Street                                                    Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative
                                                                          
       Springfield                                                            Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       Gardens                           NY        11434-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $410,000.00                   $410,000.00
                                                                              Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.

                                                                              Debtor 1 only                                   Fee simple
       Queens                                                                 Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                              At least one of the debtors and another
                                                                                                                                   (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:

                                                                        Debtor purchased this property in 2005. In 2016, Debtor transferred title
                                                                        of this property to a single member LLC he created named WRA
                                                                        Solutions.


       If you own or have more than one, list here:
 1.3                                                                    What is the property? Check all that apply
       83-57 Daniels Street                                                   Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative
                                                                          
                                                                              Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       Briarwood                         NY        11435-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $490,000.00                   $490,000.00
                                                                              Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.

                                                                              Debtor 1 only
       Queens                                                                 Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                              At least one of the debtors and another
                                                                                                                                   (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:

                                                                        Debtor purchased this property in 2005. In 2016, Debtor transferred title
                                                                        of this property to a single member LLC he created named WRA
                                                                        Solutions.




Official Form 106A/B                                                       Schedule A/B: Property                                                                             page 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
                         Case 1-17-45121-cec                               Doc 13               Filed 10/17/17            Entered 10/17/17 20:40:53

 Debtor 1         Rene Guzman                                                                                                   Case number (if known)          17-45121-cec

        If you own or have more than one, list here:
 1.4                                                                         What is the property? Check all that apply
        1 Yale Road                                                                  Single-family home                              Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                            the amount of any secured claims on Schedule D:
                                                                                     Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative
                                                                                
                                                                                     Manufactured or mobile home
                                                                                                                                      Current value of the          Current value of the
        Merrick                           NY        11566-0000                       Land                                            entire property?              portion you own?
        City                              State              ZIP Code                Investment property                                    $400,000.00                   $400,000.00
                                                                                     Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                     Other                                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.
                                                                                     Debtor 1 only                                   Beneficial Owner
        Nassau                                                                       Debtor 2 only
        County                                                                       Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                     At least one of the debtors and another             (see instructions)
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:

                                                                             Debtor purchased this property in 2014 and assumed existing mortgage.
                                                                             In 2016, Debtor transferred title of this property to a single member LLC
                                                                             he created named WRA Solutions.


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                           $1,870,000.00

 Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1     Make:         Nissan                                          Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        Murano                                           Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
          Year:         2010                                             Debtor 2 only                                                Current value of the         Current value of the
          Approximate mileage:                        96000              Debtor 1 and Debtor 2 only                                   entire property?             portion you own?
          Other information:                                             At least one of the debtors and another
         LE Sport Utility 4D, Car Ttitle is
         marked "Salvage".                                               Check if this is community property                                    $6,000.00                     $6,000.00
                                                                           (see instructions)



  3.2     Make:         Nissan                                          Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        Quest                                            Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
          Year:         2009                                             Debtor 2 only                                                Current value of the         Current value of the
          Approximate mileage:                      170000               Debtor 1 and Debtor 2 only                                   entire property?             portion you own?
          Other information:                                             At least one of the debtors and another

                                                                         Check if this is community property                                    $2,760.00                     $2,760.00
                                                                           (see instructions)




Official Form 106A/B                                                             Schedule A/B: Property                                                                              page 3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy
                      Case 1-17-45121-cec                            Doc 13       Filed 10/17/17                 Entered 10/17/17 20:40:53

 Debtor 1       Rene Guzman                                                                                         Case number (if known)      17-45121-cec
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>              $8,760.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    Used household goods: chairs, tables, beds, dining room table,
                                    microwave, stove, refrigirator, crib, decorations and kitchen items.                                                       $1,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
     Yes.     Describe.....

                                    2 Televisions, microwave, washer and dryer, radio, and speakers.                                                           $1,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
     No
     Yes. Describe.....
9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
     Yes. Describe.....
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     No
     Yes. Describe.....
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.     Describe.....

                                    Used clothing                                                                                                                $300.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
     No
     Yes. Describe.....


Official Form 106A/B                                                   Schedule A/B: Property                                                                        page 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
                          Case 1-17-45121-cec                                     Doc 13                Filed 10/17/17      Entered 10/17/17 20:40:53

 Debtor 1          Rene Guzman                                                                                                Case number (if known)   17-45121-cec
13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
     Yes. Describe.....
14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes. Give specific information.....

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                            $2,800.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
                                                                                                                                 Cash                                   $200.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:

                                                                                                 Citibank, N.A. Checking Account ending in
                                              17.1.       Checking                               5532                                                                   $300.00


                                                                                                 Chase Bank, N.A., Joint Checking Account
                                              17.2.       Checking                               Ending in 5350                                                           $50.34


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                             Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
     Yes.       Give specific information about them...................
                                       Name of entity:                                                                         % of ownership:

                                                  WRA Solutions LLC                                                                 100          %                    Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
Official Form 106A/B                                                                      Schedule A/B: Property                                                            page 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                               Best Case Bankruptcy
                       Case 1-17-45121-cec                           Doc 13    Filed 10/17/17                Entered 10/17/17 20:40:53

 Debtor 1        Rene Guzman                                                                                   Case number (if known)   17-45121-cec

     Yes. List each account separately.
                                        Type of account:                   Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                           Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     No
     Yes. Give specific information about them...
 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner s, or renter s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                          Company name:                                             Beneficiary:                           Surrender or refund
                                                                                                                                           value:

                                          Car Insurance Allstate                                                                                             $1.00




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 6
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                        Case 1-17-45121-cec                             Doc 13              Filed 10/17/17                   Entered 10/17/17 20:40:53

 Debtor 1        Rene Guzman                                                                                                      Case number (if known)       17-45121-cec


                                             Whole Life Insurance Policy with
                                             coverage amount of $300,000 Account
                                             ending in 4398                                                           Spouse and Children                                     Unknown


                                             Whole Life Insurance Policy with
                                             coverage amount of $250,000 Account
                                             ending in 7186                                                           Spouse and children                                     Unknown


                                             Whole Life Insurance Policy with
                                             coverage amount of $200,000 Account
                                             ending in 3431                                                           Spouse and children                                     Unknown


                                             Term Life Insurance Policy with
                                             coverage amount of $500,000 Account                                      Spouse, parents, and
                                             ending in 2328                                                           children                                                 Unknown


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
     Yes. Describe each claim.........
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes. Describe each claim.........
35. Any financial assets you did not already list
     No
     Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                  $551.34


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.     Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above




Official Form 106A/B                                                           Schedule A/B: Property                                                                              page 7
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                      Best Case Bankruptcy
                         Case 1-17-45121-cec                                Doc 13              Filed 10/17/17                     Entered 10/17/17 20:40:53

 Debtor 1         Rene Guzman                                                                                                           Case number (if known)   17-45121-cec

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                         $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................            $1,870,000.00
 56. Part 2: Total vehicles, line 5                                                                             $8,760.00
 57. Part 3: Total personal and household items, line 15                                                        $2,800.00
 58. Part 4: Total financial assets, line 36                                                                      $551.34
 59. Part 5: Total business-related property, line 45                                                               $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $12,111.34              Copy personal property total              $12,111.34

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $1,882,111.34




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 8
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy
                       Case 1-17-45121-cec                           Doc 13      Filed 10/17/17               Entered 10/17/17 20:40:53


 Fill in this information to identify your case:

 Debtor 1                 Rene Guzman
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                    Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NEW YORK

 Case number           17-45121-cec
 (if known)
                                                                                                                                         Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      2010 Nissan Murano 96000 miles                                                                                             NYCPLR § 5205(a)(8)
      LE Sport Utility 4D, Car Ttitle is
                                                                       $6,000.00                                  $4,425.00
      marked "Salvage".                                                                  100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                             any applicable statutory limit

      Used household goods: chairs,                                                                                              NYCPLR § 5205(a)(5)
      tables, beds, dining room table,
                                                                       $1,500.00                                  $1,500.00
      microwave, stove, refrigirator, crib,                                              100% of fair market value, up to
      decorations and kitchen items.                                                          any applicable statutory limit
      Line from Schedule A/B: 6.1

      2 Televisions, microwave, washer                                                                                           NYCPLR § 5205(a)(5)
      and dryer, radio, and speakers.
                                                                       $1,000.00                                  $1,000.00
      Line from Schedule A/B: 7.1                                                        100% of fair market value, up to
                                                                                              any applicable statutory limit

      Used clothing                                                                                                              NYCPLR § 5205(a)(5)
      Line from Schedule A/B: 11.1
                                                                          $300.00                                   $300.00
                                                                                         100% of fair market value, up to
                                                                                              any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                      Case 1-17-45121-cec                            Doc 13   Filed 10/17/17      Entered 10/17/17 20:40:53

 Debtor 1    Rene Guzman                                                                        Case number (if known)    17-45121-cec
 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                           page 2 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
                      Case 1-17-45121-cec                            Doc 13    Filed 10/17/17    Entered 10/17/17 20:40:53



                                                            United States Bankruptcy Court
                                                             Eastern District of New York
 In re         Rene Guzman                                                                                Case No.        17-45121
                                                                                    Debtor(s)             Chapter         11

                                       DECLARATION PURSUANT TO LOCAL RULE 1007-1(B)
                Rene Guzman                   , undersigned debtor herein, swears as follows:
1.          Debtor filed a petition under chapter                         11    of the Bankruptcy Code on       October 3, 2017      .
2.          Schedule(s) A/B, C, D, E/F, G, H, I, and J                              were not filed at the time of filing of the said petition,
            and is/are being filed herewith.
3.          [Check applicable box]:
                        The schedules filed herewith reflect no additions or corrections to, or deletions from, the list of
                        creditors which accompanied the petition.
                        Annexed hereto is a listing of names and addresses of scheduled creditors added to or deleted
                        from the list of creditors which accompanied the petition. Also listed, as applicable, are any
                        scheduled creditors whose previously listed names and/or addresses have been corrected. The
                        nature of the change (addition, deletion or correction) is indicated for each creditor listed.
4.          An amended mailing matrix is annexed hereto, listing added creditors ONLY, in the format prescribed
            by Local Rule 1007-3.
Reminder: No amendment of schedules is effective until proof of service in accordance with EDNY LBR 1009-1(b) has
been filed with the Court.

Any additions to the list of creditors which accompanied the petition will be deemed an amendment to that list; if this
amendment is filed prior to the expiration of the time period set forth in Fed. R. Bankr. P. 4004 and 4007, it will be
deemed to constitute a motion for a 30-day extension of the time within which any added creditors may file a complaint to
object to the discharge of the debtor and/or to determine dischargeability. This motion will be deemed granted without a
hearing if no objection is filed with the Court and served on debtor within 10 days following filing of proof of service of
this affirmation, all attachments and the amended schedules in accordance with EDNY LRB 1009-1.


 Dated:           October 13, 2017

                                                                                    /s/Rene Guzman
                                                                                    Rene Guzman
                                                                                    Debtor (signature)




Aff1007-1b.64                                                                                                                        Rev. 09/22/08

Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
     Case 1-17-45121-cec       Doc 13   Filed 10/17/17   Entered 10/17/17 20:40:53




         List of Creditors Added from the List of Creditors from October 3, 2017

Amex                                            Ocwen Loan Servicing, LLC
Correspondence                                  12650 Ingenuity Dr
Po Box 981540                                   Orlando, FL 32826
El Paso, TX 79998
                                                Ocwen Loan Servincing LLC
Bank America                                    P.O. Box 24738
Po Box 5170                                     West Palm Beach, FL 33416-4738
Correspondence CA6-919-02-41
Simi Valley, CA 93062                           Ocwen Loan Servincing LLC
                                                P.O. Box 660284
Bank Of America                                 Dallas, TX 75266
Nc4-105-03-14
Po Box 26012                                    Select Portfolio Servicing
Greensboro, NC 27410                            Po Box 65250
                                                Salt Lake City, UT 84165
BSI Financial Services
P.O. Box 679002                                 Shellpoint Mortgage Serv.
Dallas, TX 75267-9002                           P.O. Box 740039
                                                Cincinnati, OH 45274-0039
Chase Auto Finance
Po Box 901003                                   Syncb Bank/American Eagle
Ft Worth, TX 76101                              Attn: Bankruptcy
                                                Po Box 965060
Chase Card                                      Orlando, FL 32896
Attn: Correspondence Dept
Po Box 15298                                    Synchrony Bank/TJX
Wilmington, DE 19850                            Attn: Bankruptcy
                                                Po Box 965060
Citibank                                        Orlando, FL 32896
Centralized Bk/Citicorp Credit Srvs
Po Box 790040                                   TD Bank, N.A.
St Louis, MO 63179                              Attn: Bankruptcy
                                                32 Chestnut St
Emerge/fnbo                                     Lewiston, ME 04243
Pob 105555
Atlanta, GA 30348                               Visa Dept Store National Bank
                                                Macy's
Mabt - Genesis Retail                           Attn: Bankruptcy
Bankcard Services                               Po Box 8053
Po Box 4477                                     Mason, OH 45040
Beaverton, OR 97076
                        Case 1-17-45121-cec                          Doc 13         Filed 10/17/17            Entered 10/17/17 20:40:53


 Fill in this information to identify your case:

 Debtor 1                   Rene Guzman
                            First Name                       Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)        First Name                       Middle Name                     Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NEW YORK

 Case number           17-45121-cec
 (if known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B               Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral    Unsecured
 much as possible, list the claims in alphabetical order according to the creditor s name.                  Do not deduct the      that supports this     portion
                                                                                                            value of collateral.   claim                  If any
 2.1     BSI Financial Services                    Describe the property that secures the claim:            $1,044,287.45               $570,000.00        $474,287.45
         Creditor's Name
                                                   69-07 Juniper Blvd S Middle Village,
                                                   NY 11379 Queens County
                                                   Debtor purchased this property in
                                                   2003. In 2016, Debtor transferred
                                                   title of this property to a single
                                                   member LLC he created named
                                                   WRA Solutions.
                                                   As of the date you file, the claim is: Check all that
         P.O. Box 679002                           apply.
         Dallas, TX 75267-9002                      Contingent
         Number, Street, City, State & Zip Code     Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)    First Mortgage
       community debt

 Date debt was incurred                                     Last 4 digits of account number        7052

 2.2     Chase Auto Finance                        Describe the property that secures the claim:                  $3,155.00                $2,760.00               $395.00
         Creditor's Name
                                                   2009 Nissan Quest 170000 miles

                                                   As of the date you file, the claim is: Check all that
         Po Box 901003                             apply.
         Ft Worth, TX 76101                         Contingent
         Number, Street, City, State & Zip Code     Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
                       Case 1-17-45121-cec                           Doc 13           Filed 10/17/17            Entered 10/17/17 20:40:53


 Debtor 1 Rene Guzman                                                                                      Case number (if know)   17-45121-cec
              First Name                  Middle Name                     Last Name


  Check if this claim relates to a                 Other (including a right to offset)    Purchase Money Security
       community debt

                                Opened
                                6/24/09
                                Last Active
 Date debt was incurred         11/06/15                    Last 4 digits of account number        2800


        Ocwen Loan Servicing,
 2.3                                                                                                            $580,665.00         $490,000.00     $90,665.00
        LLC                                        Describe the property that secures the claim:
        Creditor's Name
                                                   83-57 Daniels Street Briarwood, NY
                                                   11435 Queens County
                                                   Debtor purchased this property in
                                                   2005. In 2016, Debtor transferred
                                                   title of this property to a single
                                                   member LLC he created named
                                                   WRA Solutions.
                                                   As of the date you file, the claim is: Check all that
        12650 Ingenuity Dr                         apply.
        Orlando, FL 32826                           Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)    First Mortgage
       community debt

                                Opened
                                6/14/05
                                Last Active
 Date debt was incurred         7/10/17                     Last 4 digits of account number        6723


 2.4
        Ocwen Loan Servincing
        LLC                                        Describe the property that secures the claim:                $205,677.39         $490,000.00    $205,677.39
        Creditor's Name
                                                   83-57 Daniels Street Briarwood, NY
                                                   11435 Queens County
                                                   Debtor purchased this property in
                                                   2005. In 2016, Debtor transferred
                                                   title of this property to a single
                                                   member LLC he created named
        P.O. Box 24738                             WRA Solutions.
                                                   As of the date you file, the claim is: Check all that
        West Palm Beach, FL                        apply.
        33416-4738                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)    Second Mortgage
       community debt

 Date debt was incurred                                     Last 4 digits of account number        9424

 2.5    Select Portfolio Servicing                 Describe the property that secures the claim:                $643,107.00         $410,000.00    $233,107.00

Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                       Case 1-17-45121-cec                           Doc 13           Filed 10/17/17            Entered 10/17/17 20:40:53


 Debtor 1 Rene Guzman                                                                                      Case number (if know)   17-45121-cec
              First Name                  Middle Name                     Last Name


        Creditor's Name                            162-26 144th Street Springfield
                                                   Gardens, NY 11434 Queens County
                                                   Debtor purchased this property in
                                                   2005. In 2016, Debtor transferred
                                                   title of this property to a single
                                                   member LLC he created named
                                                   WRA Solutions.
                                                   As of the date you file, the claim is: Check all that
        Po Box 65250                               apply.
        Salt Lake City, UT 84165                    Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)    First Mortgage
       community debt

                                Opened
                                10/06/05
                                Last Active
 Date debt was incurred         8/31/17                     Last 4 digits of account number        8942


        Shellpoint Mortgage
 2.6                                                                                                            $626,154.44           $400,000.00      $226,154.44
        Serv.                                      Describe the property that secures the claim:
        Creditor's Name
                                                   1 Yale Road Merrick, NY 11566
                                                   Nassau County
                                                   Debtor purchased this property in
                                                   2014 and assumed existing
                                                   mortgage. In 2016, Debtor
                                                   transferred title of this property to a
                                                   single member LLC he created
        P.O. Box 740039                            named WRA Solutions.
                                                   As of the date you file, the claim is: Check all that
        Cincinnati, OH                             apply.
        45274-0039                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)    First Mortgage
       community debt

 Date debt was incurred                                     Last 4 digits of account number        6824


   Add the dollar value of your entries in Column A on this page. Write that number here:                             $3,103,046.28
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                            $3,103,046.28

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 3 of 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                      Case 1-17-45121-cec                            Doc 13         Filed 10/17/17        Entered 10/17/17 20:40:53


 Debtor 1 Rene Guzman                                                                              Case number (if know)          17-45121-cec
              First Name                Middle Name                     Last Name



        Name, Number, Street, City, State & Zip Code                                        On which line in Part 1 did you enter the creditor?   2.3
        Ocwen Loan Servincing LLC
        P.O. Box 660284                                                                     Last 4 digits of account number
        Dallas, TX 75266




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                             page 4 of 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                        Case 1-17-45121-cec                          Doc 13           Filed 10/17/17                Entered 10/17/17 20:40:53


 Fill in this information to identify your case:

 Debtor 1                   Rene Guzman
                            First Name                      Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                        Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NEW YORK

 Case number           17-45121-cec
 (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
        Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority           Nonpriority
                                                                                                                                              amount             amount
 2.1          Department of Environment                              Last 4 digits of account number                                  $0.00              $0.00               $0.00
              Priority Creditor's Name
              Customer Service Center                                When was the debt incurred?
              59-17 Junction Boulevard,
              Elmhurst, NY 11373
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            Notice Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of 8
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                              34115                                             Best Case Bankruptcy
                      Case 1-17-45121-cec                            Doc 13           Filed 10/17/17               Entered 10/17/17 20:40:53

 Debtor 1 Rene Guzman                                                                                        Case number (if know)         17-45121-cec

 2.2      Internal Revenue Service                                   Last 4 digits of account number                               $0.00           $0.00              $0.00
          Priority Creditor's Name
          Centralized Insolvency Op                                  When was the debt incurred?
          P.O. Box 21126
          Philadelphia, PA 19114-0326
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                              Contingent
        Debtor 1 only                                                Unliquidated
        Debtor 2 only                                                Disputed
        Debtor 1 and Debtor 2 only                                  Type of PRIORITY unsecured claim:

        At least one of the debtors and another                      Domestic support obligations
        Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                Claims for death or personal injury while you were intoxicated
        No                                                           Other. Specify
        Yes                                                                             Notice Only

 2.3      NYC Department of Finance                                  Last 4 digits of account number                               $0.00           $0.00              $0.00
          Priority Creditor's Name
          66 John Street, Room 104                                   When was the debt incurred?
          New York, NY 10038
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                              Contingent
        Debtor 1 only                                                Unliquidated
        Debtor 2 only                                                Disputed
        Debtor 1 and Debtor 2 only                                  Type of PRIORITY unsecured claim:

        At least one of the debtors and another                      Domestic support obligations
        Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                Claims for death or personal injury while you were intoxicated
        No                                                           Other. Specify
        Yes                                                                             Notice Only

 2.4      NYC Housing Preservation                                   Last 4 digits of account number                               $0.00           $0.00              $0.00
          Priority Creditor's Name
          & Development                                              When was the debt incurred?
          100 Gold Street
          New York, NY 10038
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                              Contingent
        Debtor 1 only                                                Unliquidated
        Debtor 2 only                                                Disputed
        Debtor 1 and Debtor 2 only                                  Type of PRIORITY unsecured claim:

        At least one of the debtors and another                      Domestic support obligations
        Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                Claims for death or personal injury while you were intoxicated
        No                                                           Other. Specify
        Yes                                                                             Notice Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 8
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
                       Case 1-17-45121-cec                           Doc 13           Filed 10/17/17               Entered 10/17/17 20:40:53

 Debtor 1 Rene Guzman                                                                                        Case number (if know)           17-45121-cec

 2.5        NYS Dept. of Taxation and                                Last 4 digits of account number                               $0.00                   $0.00                 $0.00
            Priority Creditor's Name
            Finance                                                  When was the debt incurred?
            Bankruptcy Section
            P.O. Box 5300
            Albany, NY 12205-0300
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            Notice Only

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Amex                                                       Last 4 digits of account number        8449                                                           $152.00
            Nonpriority Creditor's Name
            Correspondence                                                                                    Opened 12/20/14 Last Active
            Po Box 981540                                              When was the debt incurred?            9/08/17
            El Paso, TX 79998
            Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

             Debtor 1 only                                             Contingent
             Debtor 2 only                                             Unliquidated
             Debtor 1 and Debtor 2 only                                Disputed
             At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                    Student loans
            debt                                                        Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                       Other. Specify     Credit Card




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 3 of 8
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
                      Case 1-17-45121-cec                            Doc 13         Filed 10/17/17               Entered 10/17/17 20:40:53

 Debtor 1 Rene Guzman                                                                                      Case number (if know)        17-45121-cec

 4.2      Amex                                                        Last 4 digits of account number       4873                                                  $0.00
          Nonpriority Creditor's Name
          Correspondence                                                                                    Opened 7/26/02 Last Active
          Po Box 981540                                               When was the debt incurred?           9/10/09
          El Paso, TX 79998
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Notice Only


 4.3      Bank America                                                Last 4 digits of account number       8366                                                  $0.00
          Nonpriority Creditor's Name
          Po Box 5170                                                                                       Opened 9/28/07 Last Active
          Correspondence                                              When was the debt incurred?           11/10/08
          CA6-919-02-41
          Simi Valley, CA 93062
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Notice Only


 4.4      Bank Of America                                             Last 4 digits of account number       8402                                                  $0.00
          Nonpriority Creditor's Name
          Nc4-105-03-14                                                                                     Opened 11/14/07 Last Active
          Po Box 26012                                                When was the debt incurred?           4/24/08
          Greensboro, NC 27410
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Notice Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 8
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                      Case 1-17-45121-cec                            Doc 13         Filed 10/17/17               Entered 10/17/17 20:40:53

 Debtor 1 Rene Guzman                                                                                      Case number (if know)        17-45121-cec

 4.5      Chase Card                                                  Last 4 digits of account number       9018                                            $1,330.00
          Nonpriority Creditor's Name
          Attn: Correspondence Dept                                                                         Opened 7/21/14 Last Active
          Po Box 15298                                                When was the debt incurred?           8/16/17
          Wilmington, DE 19850
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Credit Card


 4.6      Chase Card                                                  Last 4 digits of account number       9807                                            $1,144.00
          Nonpriority Creditor's Name
          Attn: Correspondence Dept                                                                         Opened 9/05/07 Last Active
          Po Box 15298                                                When was the debt incurred?           8/15/17
          Wilmington, DE 19850
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Credit Card


 4.7      Chase Card                                                  Last 4 digits of account number       6823                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Correspondence Dept                                                                         Opened 1/23/08 Last Active
          Po Box 15298                                                When was the debt incurred?           11/06/08
          Wilmington, DE 19850
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Notice Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 8
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                      Case 1-17-45121-cec                            Doc 13         Filed 10/17/17               Entered 10/17/17 20:40:53

 Debtor 1 Rene Guzman                                                                                      Case number (if know)        17-45121-cec

 4.8      Citibank                                                    Last 4 digits of account number       5532                                               $499.00
          Nonpriority Creditor's Name
          Centralized Bk/                                                                                   Opened 9/01/99 Last Active
          Citicorp Credit Srvs                                        When was the debt incurred?           8/22/17
          Po Box 790040
          St Louis, MO 63179
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Check Credit Or Line Of Credit


 4.9      Emerge/fnbo                                                 Last 4 digits of account number       2830                                                  $0.00
          Nonpriority Creditor's Name
                                                                                                            Opened 6/15/00 Last Active
          Pob 105555                                                  When was the debt incurred?           5/26/09
          Atlanta, GA 30348
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Notice Only


 4.1
 0        Mabt - Genesis Retail                                       Last 4 digits of account number       0596                                               $906.00
          Nonpriority Creditor's Name
          Bankcard Services                                                                                 Opened 12/31/16 Last Active
          Po Box 4477                                                 When was the debt incurred?           9/11/17
          Beaverton, OR 97076
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 6 of 8
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                      Case 1-17-45121-cec                            Doc 13         Filed 10/17/17               Entered 10/17/17 20:40:53

 Debtor 1 Rene Guzman                                                                                      Case number (if know)        17-45121-cec

 4.1
 1        Syncb Bank/American Eagle                                   Last 4 digits of account number       3664                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                  Opened 2/26/17 Last Active
          Po Box 965060                                               When was the debt incurred?           7/12/17
          Orlando, FL 32896
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Notice Only


 4.1
 2        Synchrony Bank/TJX                                          Last 4 digits of account number       1709                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                  Opened 4/23/17 Last Active
          Po Box 965060                                               When was the debt incurred?           8/10/17
          Orlando, FL 32896
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Notice Only


 4.1
 3        TD Bank, N.A.                                               Last 4 digits of account number       6665                                            $6,727.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                  Opened 4/01/16 Last Active
          32 Chestnut St                                              When was the debt incurred?           9/08/17
          Lewiston, ME 04243
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 7 of 8
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                      Case 1-17-45121-cec                            Doc 13         Filed 10/17/17                Entered 10/17/17 20:40:53

 Debtor 1 Rene Guzman                                                                                      Case number (if know)        17-45121-cec

 4.1
 4         Visa Dept Store National Bank                              Last 4 digits of account number       9336                                                  $0.00
           Nonpriority Creditor's Name
           Macy's                                                                                           Opened 9/19/07 Last Active
           Attn: Bankruptcy                                           When was the debt incurred?           7/23/08
           Po Box 8053
           Mason, OH 45040
           Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

            Debtor 1 only                                             Contingent
            Debtor 2 only                                             Unliquidated
            Debtor 1 and Debtor 2 only                                Disputed
            At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                    Student loans
           debt                                                        Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

            No                                                        Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                       Other. Specify     Notice Only

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                          0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                          0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                          0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                          0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                          0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                          0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                          0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                     10,758.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                     10,758.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 8 of 8
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                       Case 1-17-45121-cec                           Doc 13           Filed 10/17/17           Entered 10/17/17 20:40:53


 Fill in this information to identify your case:

 Debtor 1                 Rene Guzman
                          First Name                         Middle Name                   Last Name

 Debtor 2
 (Spouse if, filing)      First Name                         Middle Name                   Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NEW YORK

 Case number           17-45121-cec
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                               amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules.              You have nothing else to report on this form.
         Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                          State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.2
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.3
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.4
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.5
           Name


           Number       Street

           City                                    State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                       Page 1 of 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                         Case 1-17-45121-cec                           Doc 13   Filed 10/17/17     Entered 10/17/17 20:40:53


 Fill in this information to identify your case:

 Debtor 1                   Rene Guzman
                            First Name                            Middle Name        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                            Middle Name        Last Name


 United States Bankruptcy Court for the:                 EASTERN DISTRICT OF NEW YORK

 Case number            17-45121-cec
 (if known)
                                                                                                                             Check if this is an
                                                                                                                                amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                       12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:

    3.1                                                                                               Schedule D, line
                Name
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G, line
                Number             Street
                City                                      State                       ZIP Code




    3.2                                                                                               Schedule D, line
                Name
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G, line
                Number             Street
                City                                      State                       ZIP Code




Official Form 106H                                                               Schedule H: Your Codebtors                                 Page 1 of 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
                        Case 1-17-45121-cec               Doc 13     Filed 10/17/17              Entered 10/17/17 20:40:53




Fill in this information to identify your case:

Debtor 1                      Rene Guzman

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF NEW YORK

Case number               17-45121-cec                                                                   Check if this is:
(If known)
                                                                                                          An amended filing
                                                                                                          A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                 Not employed                                Not employed
       employers.
                                                                   Handyman -Independent
       Include part-time, seasonal, or       Occupation            Contractor
       self-employed work.
                                             Employer's name       Thousand Things At Home Inc.
       Occupation may include student
       or homemaker, if it applies.          Employer's address
                                                                   PO Box 701047
                                                                   East Elmhurst, NY 11370

                                             How long employed there?         3 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $         5,416.67        $            0.00

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $      5,416.67               $      0.00




Official Form 106I                                                      Schedule I: Your Income                                                    page 1
                     Case 1-17-45121-cec              Doc 13         Filed 10/17/17              Entered 10/17/17 20:40:53



Debtor 1    Rene Guzman                                                                           Case number (if known)   17-45121-cec


                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse
      Copy line 4 here                                                                     4.      $         5,416.67      $             0.00

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.     $              0.00     $               0.00
      5b.   Mandatory contributions for retirement plans                                   5b.     $              0.00     $               0.00
      5c.   Voluntary contributions for retirement plans                                   5c.     $              0.00     $               0.00
      5d.   Required repayments of retirement fund loans                                   5d.     $              0.00     $               0.00
      5e.   Insurance                                                                      5e.     $              0.00     $               0.00
      5f.   Domestic support obligations                                                   5f.     $              0.00     $               0.00
      5g.   Union dues                                                                     5g.     $              0.00     $               0.00
      5h.   Other deductions. Specify:                                                     5h.+    $              0.00 +   $               0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $               0.00     $               0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          5,416.67      $               0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.     $          -431.00      $               0.00
      8b. Interest and dividends                                                           8b.     $             0.00      $               0.00
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.     $              0.00     $               0.00
      8d. Unemployment compensation                                                        8d.     $              0.00     $               0.00
      8e. Social Security                                                                  8e.     $              0.00     $               0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                 0.00   $                 0.00
      8g. Pension or retirement income                                                     8g. $                  0.00   $                 0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                 0.00 + $                 0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $           -431.00      $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $           4,985.67 + $             0.00 = $           4,985.67
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $           4,985.67
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                      page 2
                      Case 1-17-45121-cec                 Doc 13             Filed 10/17/17          Entered 10/17/17 20:40:53




Fill in this information to identify your case:

Debtor 1                Rene Guzman                                                                        Check if this is:
                                                                                                            An amended filing
Debtor 2                                                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:    EASTERN DISTRICT OF NEW YORK                                          MM / DD / YYYY

Case number           17-45121-cec
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and
      Debtor 2.
                                           Yes.   Fill out this information for
                                                   each dependent..............
                                                                                   Dependent s relationship to
                                                                                   Debtor 1 or Debtor 2
                                                                                                                     Dependent s
                                                                                                                     age
                                                                                                                                     Does dependent
                                                                                                                                     live with you?

      Do not state the                                                                                                                No
      dependents names.                                                            Daughter                          2                Yes
                                                                                                                                      No
                                                                                   Stepdaughter                      16               Yes
                                                                                                                                      No
                                                                                   Stepdaughter                      17               Yes
                                                                                                                                      No
                                                                                                                                      Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                     Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                          2,900.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                            0.00
      4b. Property, homeowner s, or renter s insurance                                                    4b.    $                            0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                 4c.    $                            0.00
      4d. Homeowner s association or condominium dues                                                     4d.    $                            0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                            0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                        page 1
                 Case 1-17-45121-cec                      Doc 13          Filed 10/17/17               Entered 10/17/17 20:40:53



Debtor 1     Rene Guzman                                                                               Case number (if known)      17-45121-cec

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                   0.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  40.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                 6c. $                                                 180.00
      6d. Other. Specify: Cellphone                                                          6d. $                                                  50.00
7.    Food and housekeeping supplies                                                           7. $                                                400.00
8.    Childcare and children s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                250.00
10.   Personal care products and services                                                    10. $                                                   0.00
11.   Medical and dental expenses                                                            11. $                                                   0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 120.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                  440.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  256.33
      15d. Other insurance. Specify: Umbrella Insurance                                    15d. $                                                   60.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner s, or renter s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       4,696.33
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       4,696.33
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,985.67
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              4,696.33

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 289.34

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
                          Case 1-17-45121-cec                        Doc 13   Filed 10/17/17         Entered 10/17/17 20:40:53




 Fill in this information to identify your case:

 Debtor 1                    Rene Guzman
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NEW YORK

 Case number              17-45121-cec
 (if known)
                                                                                                                                   Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                        12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


               No

         Yes. Name of person                                                                                   Attach Bankruptcy Petition Preparer s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Rene Guzman                                                           X
              Rene Guzman                                                               Signature of Debtor 2
              Signature of Debtor 1

              Date       October 17, 2017                                               Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                         Case 1-17-45121-cec                         Doc 13       Filed 10/17/17            Entered 10/17/17 20:40:53




 Fill in this information to identify your case:

 Debtor 1                  Rene Guzman
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NEW YORK

 Case number           17-45121-cec
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                               amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

              Married
        Not married
2.     During the last 3 years, have you lived anywhere other than where you live now?

              No
        Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                               Dates Debtor 2
                                                                 lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
        Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

        No
              Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income               Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.           (before deductions
                                                                                    exclusions)                                                    and exclusions)

 From January 1 of current year until               Wages, commissions,                        $18,750.00          Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips
                                                    Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                      Case 1-17-45121-cec                            Doc 13      Filed 10/17/17             Entered 10/17/17 20:40:53

 Debtor 1      Rene Guzman                                                                                 Case number (if known)   17-45121-cec


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

                                                    Wages, commissions,                        $37,080.00          Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips

                                                    Operating a business                                           Operating a business

 For last calendar year:                            Wages, commissions,                        $29,881.00          Wages, commissions,
 (January 1 to December 31, 2016 )                 bonuses, tips                                                   bonuses, tips

                                                    Operating a business                                           Operating a business

 For the calendar year before that:                 Wages, commissions,                          Unknown           Wages, commissions,
 (January 1 to December 31, 2015 )                 bonuses, tips                                                   bonuses, tips

                                                    Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
       Yes. Fill in the details.
                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1 s or Debtor 2 s debts primarily consumer debts?
       No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as incurred by an
                 individual primarily for a personal, family, or household purpose.

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                      No.         Go to line 7.
                      Yes       List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.      Go to line 7.
                      Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                      Case 1-17-45121-cec                            Doc 13      Filed 10/17/17             Entered 10/17/17 20:40:53

 Debtor 1      Rene Guzman                                                                                 Case number (if known)    17-45121-cec


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

           No
       Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
       Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

       No
           Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Wilmington Savings Fund Society                           Foreclosure                Supreme Court of the State                Pending
       v. Rene Guzman, et al.                                                               of New York                                 On appeal
                                                                                            County of Queens
                                                                                                                                      Concluded
                                                                                            88-11 Sutphin Blvd.
                                                                                            Jamaica, NY 11435


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
       Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
       Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
       Yes




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                      Case 1-17-45121-cec                            Doc 13      Filed 10/17/17             Entered 10/17/17 20:40:53

 Debtor 1      Rene Guzman                                                                                 Case number (if known)    17-45121-cec


 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
       Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                   Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
       Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                        Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
       Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                           lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

       No
           Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment               Amount of
       Address                                                        transferred                                             or transfer was             payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Ortiz & Ortiz, LLP                                             Attorney Fees                                           September 12,            $15,250.00
       32-72 Steinway Street, Suite 402                                                                                       2017 - Paid
       Astoria, NY 11103                                                                                                      $250 by
       email@ortizandortiz.com                                                                                                Debtor
       WRA Solutions LLC                                                                                                      September 25,
                                                                                                                              2017 - Paid
                                                                                                                              $15,000 by
                                                                                                                              WRA
                                                                                                                              Solutions LLC

       001 Debtorcc, Inc.                                             Credit Counseling Course                                September 25,                  $14.95
       378 Summit Ave.                                                                                                        2017
       Jersey City, NJ 07306
       https://www.debtorcc.org




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
                      Case 1-17-45121-cec                            Doc 13        Filed 10/17/17           Entered 10/17/17 20:40:53

 Debtor 1      Rene Guzman                                                                                 Case number (if known)    17-45121-cec


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
       Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
       Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or        Date transfer was
       Address                                                        property transferred                      payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
       Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                         Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
       Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of           Type of account or          Date account was             Last balance
       Address (Number, Street, City, State and ZIP              account number             instrument                  closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
       Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?           Describe the contents                    Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                                have it?
                                                                      State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
       Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access           Describe the contents                    Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                        have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                      Case 1-17-45121-cec                            Doc 13        Filed 10/17/17                Entered 10/17/17 20:40:53

 Debtor 1      Rene Guzman                                                                                       Case number (if known)   17-45121-cec


 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
       Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                     Describe the property                               Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)


 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
       Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you            Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)


25. Have you notified any governmental unit of any release of hazardous material?

           No
       Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you            Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)


26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
       Yes. Fill in the details.
       Case Title                                                     Court or agency                            Nature of the case                      Status of the
       Case Number                                                    Name                                                                               case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)


 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 6
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
                       Case 1-17-45121-cec                           Doc 13      Filed 10/17/17             Entered 10/17/17 20:40:53

 Debtor 1      Rene Guzman                                                                                 Case number (if known)   17-45121-cec



            No. None of the above applies. Go to Part 12.
       Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                            Describe the nature of the business             Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
       Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)


 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Rene Guzman
 Rene Guzman                                                             Signature of Debtor 2
 Signature of Debtor 1

 Date      October 17, 2017                                              Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
 No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
 No
 Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                      Case 1-17-45121-cec                            Doc 13   Filed 10/17/17     Entered 10/17/17 20:40:53



Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:          Liquidation
 This notice is for you if:
                                                                                                  $245       filing fee
        You are an individual filing for bankruptcy,
        and                                                                                         $75      administrative fee

        Your debts are primarily consumer debts.                                          +         $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as incurred by an individual                                                     $335       total fee
        primarily for a personal, family, or
        household purpose.                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                             most taxes;
 chapter.
                                                                                               most student loans;

                                                                                               domestic support and property settlement
                                                                                               obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
                      Case 1-17-45121-cec                            Doc 13   Filed 10/17/17        Entered 10/17/17 20:40:53




        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A 1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A 2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form the Chapter 7 Means Test                                            +          $550    administrative fee
 Calculation (Official Form 122A 2). The calculations on
                                                                                                      $1,717    total fee
 the form sometimes called the Means Test deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                      Case 1-17-45121-cec                            Doc 13   Filed 10/17/17      Entered 10/17/17 20:40:53


        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
                      Case 1-17-45121-cec                            Doc 13   Filed 10/17/17       Entered 10/17/17 20:40:53


                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury either orally or in writing in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                          page 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
                      Case 1-17-45121-cec                            Doc 13    Filed 10/17/17      Entered 10/17/17 20:40:53

B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re       Rene Guzman                                                                                      Case No.      17-45121-cec
                                                                                   Debtor(s)                  Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                 $                 15,250.00
              Prior to the filing of this statement I have received                                       $                 15,250.00
              Balance Due                                                                                 $                        0.00

2.     The source of the compensation paid to me was:

               Debtor                   Other (specify):           The Debtor paid $250 on 9/12/2017, and WRA Solutions LLC paid $15,000 on
                                                                     9/25/2017.

3.     The source of compensation to be paid to me is:

                 Debtor            Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                  reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                  522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                              CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 17, 2017                                                              /s/ Norma E. Ortiz
     Date                                                                          Norma E. Ortiz
                                                                                   Signature of Attorney
                                                                                   Ortiz & Ortiz, LLP
                                                                                   32-72 Steinway Street, Suite 402
                                                                                   Astoria, NY 11103
                                                                                   (718) 522-1117 Fax: (718) 596-1302
                                                                                   email@ortizandortiz.com
                                                                                   Name of law firm




Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
